         Case 4:24-cv-00302-RM Document 1 Filed 06/17/24 Page 1 of 4




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 6 Attorneys for Defendants Chiricahua
   Community Health Centers, Inc., Jon Melk
 7 and Darlene Melk
 8
                              UNITED STATES DISTRICT COURT
 9
                                     DISTRICT OF ARIZONA
10
     ADAM BRAKE, an individual ,                     No.
11
                                       Plaintiff,    NOTICE OF REMOVAL
12
                   v.
13
   CHIRICAHUA COMMUNITY HEALTH
14 CENTERS, INC., an Arizona nonprofit
   corporation, and JON MELK, an
15 individual, and, DARLENE MELK,
   husband and wife,
16
               Defendants/Counterclaimants.
17
18
                   Defendant Chiricahua Community Health Centers, INC., Jonathan Melk, and
19
     Darlene Melk, (“Defendants”), by and through undersigned counsel, and pursuant to 28
20
     U.S.C. § 1331, 1441, and 1446, hereby gives notice of the removal of the above-captioned
21
     case, Cochise County Superior Court Case No. CV202305321, from the Superior Court of
22
     the State of Arizona, County of Cochise, to this Court and in support thereof asserts:
23
                   1. On or about May 17, 2024, Plaintiff filed his First Amended Complaint
24
                        against Defendant in the Superior Court of Arizona in and for the County
25
                        of Cochise, under the caption Adam Brake v. CHIRICAHUA
26
                        COMMUNITY HEALTH CENTERS, INC., an Arizona nonprofit
27
                        corporation; and, JONATHAN MELK and DARLENE MELK, husband
28
                        and wife, S0200CV202300580. A copy of that Complaint is attached

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         Case 4:24-cv-00302-RM Document 1 Filed 06/17/24 Page 2 of 4




 1                    hereto as Exhibit A. Defendant received formal notice of this pleading
 2                    on May 17, 2024, when Plaintiff completed service of process on
 3                    Defendant.
 4                 2. The United States Federal District Courts have original jurisdiction over
 5                    all civil actions arising under the laws of the United States pursuant to 28
 6                    U.S.C. § 1331.
 7                 3. This action may be removed pursuant to 28 U.S.C. § 1331 because the
 8                    Amended Complaint alleges Racketeering based on alleged violations of
 9                    an Unlawful Act – Attempt to Evade or Defeat tax (26 U.S.C. §7201),
10                    Major Fraud Against the United States (18 U.S.C. §1031), and Taxes on
11                    excess benefit transactions (26 U.S.C. § 4958 ), and thus on information
12                    and belief alleges Racketeering under 18 U.S.C. §1962. [See Exhibit A,
13                    Plaintiff’s First Amended Complaint, Count Four - Racketeering].
14                 4. Venue is proper in this district pursuant to 28 U.S.C. § 1441(a) because
15                    the District of Arizona embraces Cochise County, Arizona, the place
16                    where the Superior Court action was filed.
17                 5. This Notice of Removal is being filed within thirty (30) days of receiving
18                    formal notice of the Complaint, and is therefore timely filed under 28
19                    U.S.C. § 1446(b).
20                 6. Copies of all pleadings currently on file with Cochise County Superior
21                    Court are attached as Exhibit B to this Notice.
22                 7. A Notice of Filing Notice of Removal, a true and correct copy of which
23                    is attached as Exhibit C (without exhibits attached) has been filed in the
24                    Arizona Superior Court, County of Cochise, on behalf of Defendant.
25
26                 Based on the foregoing, Defendant respectfully requests that the above action
27 now pending in Arizona Superior Court, Cochise County, be removed to this Court.
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         Case 4:24-cv-00302-RM Document 1 Filed 06/17/24 Page 3 of 4




 1
                   DATED this 17th day of June, 2024.
 2
                                             JONES, SKELTON & HOCHULI, P.L.C.
 3
 4
                                             By /s/ Stephanie D. Baldwin
 5                                              Gordon Lewis
                                                Stephanie D. Baldwin
 6                                              40 N. Central Avenue, Suite 2700
                                                Phoenix, Arizona 85004
 7                                              Attorneys for Defendants Chiricahua
                                                Community Health Centers, Inc., Jon Melk
 8                                              and Darlene Melk
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         Case 4:24-cv-00302-RM Document 1 Filed 06/17/24 Page 4 of 4




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 3
                                 CERTIFICATE OF SERVICE
 4
                   I hereby certify that on this 17th day of June, 2024, I caused the foregoing
 5
     document to be filed electronically with the Clerk of Court through the CM/ECF System
 6
     for filing; and served on counsel of record via the Court’s CM/ECF system.
 7
   Timothy Coons, Esq.
 8 Aaron S. Ludwig
   COUNXEL
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   Mesa, Arizona 85202
10 TCoons@counxel.com
   ALudwig@counxel.com
11 Attorneys for Plaintiff
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13 /s/ Gail Hardin
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